                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION


UNITED STATES OF AMERICA,                             )
                                                      )
                              Plaintiff,              )
                                                      )
                       v.                             )      No. 09-4003-16-CR-C-NKL
                                                      )
DONNA C. COATS                                        )
                                                      )
                              Defendant.              )

                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       Defendant Donna Coats, by consent, appeared before the undersigned on October 2, 2009
pursuant to Fed. R. Crim. P. 11, Local Rule 72(j)(26), and 28 U.S.C. § 636, and has entered a
plea of guilty to Count 21 of the indictment filed on April 3, 2009. After cautioning and
examining the defendant, under oath, in accordance with the requirements of Rule 11, it was
determined that the guilty plea was made with full knowledge of the charges and the
consequences of pleading guilty, was voluntary, and that the offenses to which the defendant has
plead guilty are supported by a factual basis for each of the essential elements of the offenses.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that
defendant Coats be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within ten (10) days
from the date of its filing will prevent the defendant from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).
       Dated this 2nd day of October, 2009, at Jefferson City, Missouri.



                                              /s/   William A. Knox
                                              WILLIAM A. KNOX
                                              United States Magistrate Judge
10/2/09




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